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           MINUTE ORDER OF THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF CALIFORNIA


Case Name: Moriarty v. County of San Diego           Case Number: 17cv1154-LAB (AGS)

Hon. Larry Alan Burns               Ct. Deputy: T. Weisbeck

      Because of a conflict in the Court’s calendar, the motions in limine hearing currently
scheduled for Monday, July 13, 2020 at 2:00 pm is CONTINUED to Monday, September 21,
2020 at 2:00 pm.

    The joint motion seeking leave for Danielle Pena to appear telephonically is DENIED
WITHOUT PREJUDICE as moot.

                                               ______________________________________
Date: July 6, 2020                              Hon. Larry A. Burns
                                                Chief United States District Judge

cc: All Counsel
